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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                         TAMPA DIVISION

JOHN DOE a/k/a J.O.
and JOHN DOE 2-3

           Plaintiffs,

v.                                            CASE NO. 8:21-cv-225-T-210CPT
                                                       _______________

CIGNA CORP.; CIGNA LIFE
INSURANCE COMPANY OF
NEW YORK; LIFE INSURANCE
COMPANY OF NORTH AMERICA;
SANDATA TECHNOLOGIES
PREMIUM PLAN 503; SANDATA
TECHNOLOGIES LLC; DOE
COMPANY; DOE CORP.; JANE
AND JOHN DOE 1-5,

     Defendants.
_____________________________/

  VERIFIED COMPLAINT, AND REQUEST FOR PRELIMINARY AND
 PERMANENT INJUNCTIVE RELIEF, AND REQUEST FOR JURY TRIAL

     1.    Plaintiff, John Doe a/k/a J.O. (J.O.) is a domiciled Hillsborough

County, Florida resident. Through employment as Medicare-Medicaid

Subject Matter Expert – Customer Care Representative at Sandata
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Technologies LLC enrolled in a Plan insured by Cigna Life Insurance

Company of New York.

     2.    Cigna Life Insurance Company of New York (CLINY) is insurer

and claims administrator for Policy VDY-960047. CLIFNY’s offices are

located at 140 East 45th Street, New York, NY 10017-3144.

     3.    CLINY and Life Insurance Company of North America (LINA)

are business units of Cigna Corp. (Cigna).

     4.    Sandata Technologies LLC (Sandata) is listed by CLINY as Plan

Administrator and agent for service of legal process for Sandata Premium

Plan 503 (the Plan). Sandata and the Plan offices are located at 26 Harbor

Park Drive Port Washington, NY 11050.

     5.    In accord with the Plan’s procedures, J.O. submitted by pre-

paid mail a claim in proper form with all relevant claim documents;

however, J.O. submitted a substitute disclosure authorization form instead

of signing Cigna’s form containing overly broad language, including with

respect to HIV/AIDS records.

     6.    Thereafter, J.O. was notified that the paper form had been

converted to an electronic form with documents presented for signature

still containing overly broad language about HIV/AIDS records.
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     7.    Despite express written request for protection of HIV/AIDS

records provided by law, CLINY disclosed J.O.’s HIV/AIDS records to,

among others, Advantage 2000 Consultants (A2k).

     8.    Thereafter, J.O. received phone calls and letters from A2k,

advising that failure to cooperate and sign pre-filled forms would result in

denial of claim. In accord with the Plan rules J.O. promptly contacted

CLINY and Sandata.

     9.    CLINY and Cigna’s Privacy Officer initially denied any

violation of law. The Plan was advised of Federal Court (District of

Kansas) ruling, ordering in par, A2k is not an agent; the same published

order also indicated in separate numbered paragraphs that Cigna is very

aggressive with business practices and forms, including calling insured to

advise that his claim would be denied, so he signed the form.

     10.   After adverse determination, Mary Clark, Cigna’s Privacy

Officer wrote again to reverse an earlier decision and advised that CLINY

Claim Manager Ryan Kelley of Cigna’s Pittsburgh, PA Claims Office had,

in fact, disclosed Doe’s HIV/AIDS information, was counseled and

received additional training. CLINY advised that Mr. Kelley would remain

point of contact to submit request for review and record requests.
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      11.   Thereafter and with reservation of privileges and rights,

administrative appeals were submitted on J.O.’s behalf, including by a

Florida attorney admitted to practice in New York. It is J.O.’s

understanding decision pending after CLINY submitted claim to an

infectious disease specialist for paper review, then to a specialty J.O. had

never consulted nor ever been advised by multidisciplinary team,

including some providing care for more than 25 years, to consult.

      12.   During the relevant period, Cigna Corp. entities have been fully

advised about Florida’s HIV/AIDS independent legal duties, including in

legal proceedings in this Court. Doe v. Jasper & Connecticut General Life

Insurance Co., 2017 U.S. Dist. LEXIS 158808 (M.D. Fla., Sept. 27, 2017).

      13.   Public records indicate that Cigna Corp. entities continue to

challenge the Order of this Court issued on September 27, 2017.

      14.   Cigna’s corporate practices about HIV/AIDS have caused

damages.

      15.   CLINY’s practices and procedures are improper and retaliatory

and have caused damages.

      16.   Cigna’s policies are harmful to the public for reasons including

that the State of Florida remains an epicenter of the current U.S. HIV
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Epidemic.

        17.   This Court has subject matter jurisdiction over the Employee

Retirement Income Security Act (ERISA) claims under 29 U.S.C.§ 1132 and

over all other non-ERISA claims asserted in this action under 28 U.S.C. §

1367.

        18.   The non-ERISA claims asserted in this action: Breach of

Fiduciary Duty, Invasion of Privacy, Negligence Per Se, Negligence,

Intentional Infliction of Emotional Distress, and Negligent Infliction of

Emotional Distress.

        19.   The Omnibus AIDS Act of 1988, Section 381.004, Florida

Statutes, has required “special handling” and provided unambiguous

patient privacy protections for more than 30 years.


        I declare under penalty of perjury that the foregoing is true and

correct. Doe v. Jasper & Connecticut General Life Insurance Co., 2017 U.S.

Dist. LEXIS 158808 (M.D. Fla., Sept. 27, 2017Executed on January 29, 2021

        /s John Doe



        John Doe


        WHEREFORE, Plaintiffs prays:
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      1.    For a temporary restraining order, preliminary and permanent

injunction, enjoining and restraining Defendants from engaging in the

policies, practices and conduct complained of herein;


      2.    For a declaratory judgment that Defendants’ policies, practices

and conduct as alleged herein violate Plaintiffs’ rights;


      3.    For damages in an amount to be determined according to

proof.


      4.    For costs of suit and fees as provided by law;


      5.    For such other relief as the Court deems just and proper.


      Under Federal Rule of Civil Procedure 11, by signing below, I certify

to the best of my knowledge, information, and belief that this complaint: (1)

is not being presented for an improper purpose, such as to harass, cause

unnecessary delay, or needlessly increase the cost of litigation; (2) is

supported by existing law or by a nonfrivolous argument for extending,

modifying, or reversing existing law; (3) the factual contentions have

evidentiary support or, if specifically so identified, will likely have

evidentiary support after a reasonable opportunity for further investigation
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or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.


     Dated this 29th day of January, 2021.


/s John Doe

By: John Doe

John Doe
c/o Douglas B. Stalley, Fiduciary
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